                  Case 4:21-cv-00013-JCH Document 1 Filed 01/11/21 Page 1 of 3



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8                                 UNITED STATES DISTRICT COURT
9                                            DISTRICT OF ARIZONA
10   Griselda Moreno and Gustavo Moreno, wife         )
     and husband,                                     )
11                                                    )
           Plaintiffs,                                )     NO.
12                                                    )
     vs.                                              )     COMPLAINT
13                                                    )
     United States of America, a governmental entity, )
14                                                    )
                                Defendant.            )
15                                                    )
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             Plaintiffs allege as follows:
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             1.      This action arises under 28 U.S.C. § 1346(b)(1); 28 U.S.C. § 2401 and 28 U.S.C. §
20
     2671, et seq., the Federal Tort Claims Act. This Court has jurisdiction over this action pursuant
21
     to 28 U.S.C. § 1346(b).
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             2.      Venue is proper within the District of Arizona pursuant to 28 U.S.C. § 1402(b)
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     because all acts and events referred to herein occurred within the District of Arizona.
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             3.      Defendant United States of America, by and through its agents, officers and
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     employees, has caused acts and events to occur within the State of Arizona, which acts and
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     events form the basis for the cause of action set forth herein.
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                 Case 4:21-cv-00013-JCH Document 1 Filed 01/11/21 Page 2 of 3



1           4.      Defendant United States of America is responsible for the U.S. Department of
2    Health and Human Services and its agents, officers and employees.
3           5.      The U.S. Department of Health and Human Services provides funding to El Rio
4    Health, and has deemed El Rio Health a Federal Public Health Service; its agents, officers and
5    employees are deemed to be employees of the United States of America, for purposes of
6    coverage under the Federal Torts Claims Act, 28 U.S.C. § 2671, et seq., at all times relevant to
7    incidents described herein.
8           6.      Plaintiffs served Defendant United States of America through the U.S. Department
9    of Health and Human Services with proper and timely notices of their claims on March 6, 2020,
10   pursuant to the provisions of 28 U.S.C. § 2675. No action was taken by the U.S. Department of
11   Health and Human Services and more than six (6) months have elapsed. Plaintiffs treat their
12   claims as being rejected and file this action pursuant to the Federal Tort Claims Act to recover
13   money damages arising from personal injury caused by negligent acts of employees acting
14   within the scope and course of their employment at El Rio Health.
15          7.      On or about July 1, 2016, Griselda Moreno underwent gynecological testing at El
16   Rio Health; Defendant was negligent by failing to provide the gynecological testing results to
17   Plaintiff; Plaintiff did not discover she had suffered an injury until a colposcopy performed on
18   March 13, 2018 showed she had invasive squamous cell carcinoma of the uterus, and she learned
19   that she had not been properly informed of prior test results by Defendant.
20          8.      As a direct and proximate result of said negligence, Plaintiff Griselda Moreno has
21   undergone undue pain and suffering, chemotherapy and radiation therapies, and continues to
22   suffer from medical issues. Plaintiff Gustavo Moreno has lost the love, affection, support, care,
23   comfort, and society provided by his loving wife.
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26   ////
27   ////
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              Case 4:21-cv-00013-JCH Document 1 Filed 01/11/21 Page 3 of 3



1           Wherefore, Plaintiffs pray for judgment against Defendant United States of America in an
2    amount which will compensate them for their damages sustained herein, for the costs of this
3    action, and for such other and further relief as the Court deems just and reasonable.
4           DATED this 11th day of January, 2021.
5                                              MERCALDO LAW FIRM
6
7                                              By /s/ Carlo N. Mercaldo
                                                       Carlo N. Mercaldo
8                                                      Ronald D. Mercaldo
                                                       Attorneys for Plaintiffs
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